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Therese Lawrence
Plaintiff in Propria Persona
165 Village Circle Way #17
Manchester, NH 03102

            IN THE SUPERIOR COURT, HILLSBOROUGH COUNTY

                               STATE OF NEW HAMPSHIRE
THERESE LAWRENCE

       PLAINTIFF

V.                                       CASE NO..._.._ . _

WALGREENS

       DEFENDANT



                COUNT I— COMPLAINT FOR WRONGFUL TERMINATION

      The plaintiff, Therese Lawrence, sues the defendant, WALGREENS, for wrongful
termination of employment and alleges the following:

                                JURISDICTION AND VENUE

      The Superior Court has original jurisdiction over claims for wrongful termination for
employment and related employment agreements.

      The plaintiff resides in Hillsborough County, New Hampshire, and her mailing
address is 165 Village Circle Way #17, Manchester, NH 03102.

      The defendant is a resident in the state of New Hampshire, with its principal place of
business in Hillsborough County at the address of 227 S. Main St., Manchester, New
Hampshire.

      The material facts for all times material to this complaint took place in Hillsborough
County, New Hampshire.


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                                   STATEMENTS OF FACT


       On the date of December 11th, 2020, the plaintiff's employment was terminated

without notice.

       Beginning in October, 2020, the defendant has begun directing its employees to
inform the plaintiff that she is required' to wear a mask over her face as a condition of
employment. The plaintiff let the management know about her pre-existing health condition
and her religious beliefs, and further explained that she cannot breathe with anything
covering her face.


       On November 6th, 2020 the plaintiff was informed, by the manager, Alana, that she

needed medical clearance from Sedgwick Legal Counsel and should fill out paperwork so
they would have it on file. At this point, the district manager Steve was also present. Steve
raised his voice to the plaintifP, spoke over her, interrupted her several times and also told
her not to speak. The plaintiff felt he was trying to intimidate her and harass her and she felt
her job was being threatened, even though she tried to communicate that her challenge to
the mask was a civil matter and a matter of inedical choice since it is a medical device and
she couldn't be forced to accept medical advice from her employer. Steve told the plaintiff
that she has to leave the premises, but she is not fired and will receive pay for 4 hours.


       On November 20th, 2020 the plaintiff was taken off the schedule at Walgreens and

her login information had either been deleted or suspended. She was not able to log in to
see her work schedule. On that day the plaintiff went to work, for her shift, as usual, despite
not being able to see the schedule. She was told by the store manager, Alana, that she
would not be allowed in the store. She did not tell the plaintiff that she was fired but handed
her papers to file with corporate and told her "Good luck:"


       On December 4th, 2020, the plaintiff returned to work, after filing the required

documents with corporate. She was again approached by Alanna and was told that she was



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 not allowed to work without a mask. The piaintiff let the defendant know that she was here
 to work, and to piease not to harass her.

        Before the plaintiff's shift ended, a Police Officer approached her in the store. He
 revealed that the District Manager Steve had instructed Store Manager Alanna to call the
 police to escort the piaintiff from the premises because she was not scheduled to work and
 because the Officer had been told that she was upset. The piaintifP let the officer know that
she was not upset at all, and that her scheduied shift has aiways been Friday, that she has
not been fired and that her manager asked her to work in the photo department. At the end
of the plaintiff's shiftAlana, the manager, said "Goodbye." and "See you on Friday."


       The piaintiff returned back to work on December 11th, 2020 when she was toid that if

she did not wear a mask then she would be fred. The piaintiff responded that she wouid not
be wearing a mask and asked if she was fired. The manager, Alana repiied that they will be
ending the piaintiff's employment today. The manager printed a paystub for 2 hours. She
collected the piaintiff's name tag and card. She then processed her final pay at the register.

       True and correct copies of written communications are attached as Exhibit A.

     Plaintiff also submits the "Walgreen's Communicabie Disease Policy" effective
September 1, 2020 which outiines the official company poiicy for handiing any empioyee
with a communicable disease.        It agrees with points plaintiff raised in her letters to
Corporate. It expressly says that a medical examination is required before the company can
assume someone has a communicabie disease. A true and correct copy of this policy is
attached as Exhibit C.


       Each statement of the piaintiff's affidavit is incorporated herein.

                                        ALLEGATIONS

       Plaintiff alleges the foregoing and incorporates each fact herein and further alleges
as follows:



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       The piaintiff's empioyment was wrongfully terminated by the defendant for
discriminatory reasons. Upon the defendant's change in the empioyment contract
purportediy requiring the piaintiff to wear a mask whiie working, the defendant faiied or
refused to review or consider the piaintifrs medical history, medical needs or medical
condition.

       Beginning from the date the plaintiff was hired, she has been compensated for her
labor and the services she has provided the defendant at regular intervals. Plaintiff had a
reasonabie expectation to continue working for the defendant. The defendant's termination
of the piaintiff's empioyment was in vioiation of the employment contract and was made
without notification or adequate notification to the piaintiff.

      The conditions of piaintifPs empioyment with the defendant did not require the
defendant to waive any of her rights.                                          ;

        The conditions of the piaintifPs empioyment with the defendant did not require the
piaintiff to accept the defendant's medical advice.

       The conditions of the piaintiff's employment with the defendant did not inciude terms
that allowed the defendant to engage in the unlicensed practice of inedicine and the
defendant is not insured or otherwise indemnified for practicing medicine.

      The conditions of the piaintifPs empioyment with the defendant did not inciude terms
that made the defendant the piaintiffs physician or otherwise, require the plaintiff to act
upon medical advice given by the defendant.

        Plaintiff's empioyment was wrongfully terminated in retaiiation for exercising her
rights; specifically, the piaintiff has certain intangibie private properry rights which inciude the
right to care for her own health and choose her own physician and health care practices
while also avoiding habits and practices that she believes might ruin or risk her good health.

       The plaintiff also has the intangibie private property right to make all decisions that
affect her heaith with informed consent; that is, plaintiff has a right to review all risk and
benefit analyses and resuits from reievant ciinical studies prior to making any decision to


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adopt new practices regarding her health. The defendant refused to comply with the law and
violated the plaintiff's property rights, specifically those enumerated under the state's
Patient's Bill of Rights and informed consent.

     Defendant is an employer and prohibited from firing or otherwise retaliating against
employees, specifically the plaintiff, who report workplace safety violations or participate in
investigations into such violations.

       New conditions of employment violated the long-standing safety standards adopted
by the Occupational Safety and Health Administration and involved the defendanfs conduct
which included imposing a medical intervention in violation of the law prohibiting the
unlicensed practice of inedicine.

      Plaintiff's employment was wrongfully terminated in retaliation for reporting unsafe
working conditions to the Occupational Safety and Health Administration.

       Plaintiff's employment was also wrongfuily terminated because the plaintiff refused to
accept a medical intervention sought to be imposed by the defendant where such medical
intervention was not permitted to be imposed by law by the defendant and violated the
plaintiff's right to informed consent.

       Plaintiff was wrongfully terminated because the defendant and its agents did not
follow the procedures of "Walgreen's Communicable Disease Policy" which has been official
company policy since September 1, 2020.         The policy states that in every case of an
employee being suspected of having a communicable disease there must be an
evidence-based diagnosis by a medical professional before any action is taken by the
company. PlaintifP never had a medical diagnosis of being infectious nor did plaintiff have a
court order designating her as a"direct threat".    A true copy of the policy paper is attached
as Exhibit C.

      As a direct and proximate result of the defendant's actions, the plaintiff's employment
was wrongfully terminated by the defendant.




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      The defendant's actions were willful and negligent. After plaintiff's objections and
attempts to re-mediate the defendant on the law and her rights, the defendant continued
violating the law and violating the plaintiffs rights as alleged herein.

      The defendant did not act under color of law or claim of lawful authority. The
defendant had no legal duty to require the plaintiff to undertake any medical intervention or
the one purportedly requiring the plaintiff to wear a surgical mask or mask of any kind as a
new condition of her employment.

       The defendant was not acting under any authority of law or court order. Again, the
defendant was under no legal duty to violate the law as alleged herein, and no authority or
court order permitted the defendant to violate the law or violate the plaintiffs rights as
alleged herein.

       The plaintiff never waived any of her rights at any time.

      No employee or agent of the defendant is licensed, competent or authorized to give
medical advice, such as requiring employees, such as the plaintiff, to wear• a mask, or
submit to temperature or tissue testing.

       Additionally, neither the defendant nor any of its employees or agents are insured or
indemnified to collect vital statistics such as taking the temperatures or tissue samples.

      Defendant has no authority to require the plaintifF to act upon its medical advice (by
wearing masks) or disclosing her vital statistics (e.g. temperature), submitting to any
medical examination or give tissue samples (e.g. testing) as a new condition' of the plaintiff
retaining her employment with the defendant.

      The defendant is not authorized to violate the rights of the plaintiff, nor is the
defendant required to break the law, or operate beyond its charter as a new condition of the
plaintiff's employment that was never considered at the time he was hired.

      Plaintiff demands a jury trial.




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       WHEREFORE plaintiff demands judgment against the defendant for wrongful
 termination together with costs and attomey fees and other relief as this court deems
 appropriate.

                                  COUNT II — LOST WAGES

       The plaintiff, Therese Lawrence, sues the defendant, WALGREENS, for lost wages
and alleges the following:

                                JURISDICTION AND VENUE

      The Superior Court has original jurisdiction over claims for wrongful termination for
employment and related employment agreements.

      The plaintiff resides in Hillsborough County, New Hampshire, and her mailing
address is 165 Village Circle Way #17, Manchester, NH 03102.

      The defendant is a resident in the state of New Hampshire, with its principal place of
business in Hillsborough County at the address of 227 S. Main St., Manchester, New
Hampshire.

      The material facts for all times material to this complaint took place in Hillsborough
County, New Hampshire.

                                  STATEMENTS OF FACT

      The plaintiff's job title was "Designated Hitter" which includes cashier duties and
working in the Photo Department and processing shipments as needed and she has been
paid $12 per hour since April, 2019.

                                       ALLEGATIONS

       Plaintiff re-alleges the foregoing and incorporates each fact herein and further alleges
as follows;




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       It was an employment contract that commenced between the plaintiff and defendant

on the date of March 31st, 2019 and continued without interruption until plaintiff's

employment was terminated as alleged herein.


       Plaintiff was wrongfully terminated on the date of December 11th, 2020 and based

upon her rate of compensation, the plaintiff is entitled to lost wages in the approximate
amount of $18,096 for the year, not including additional benefits which may be calculated by
the court, plus interest as calculated by the laws of the state of New Hampshire.

       The plaintiff's employment was wrongfully terminated by the defendant for
discriminatory reasons. Upon defendant's change in the employment contract purportedly
requiring the plaintiff to wear a mask while working, the defendant failed or refused to review
or consider the plaintiff's medical history, medical needs or medical condition.

       Beginning from the date the plaintiff was hired, she has been compensated for her
labor and the services she has provided the defendant at regular intervals. Plaintiff had a
reasonable expectation to continue working for the defendant. The defendant's termination
of the plaintiff's employment was in violation of the employment contract and was made
without notification or adequate notification to the plaintiff.

      The conditions of plaintiff's employment with the defendant did not require the
defendant to waive any of her rights.

        The conditions of the plaintifF's employment with the defendant did not require the
plaintiff to accept the defendant's medical advice.

       The conditions of the plaintiff's employment with the defendant did not include terms
that allowed the defendant to engage in the unlicensed practice of inedicine and the
defendant is not insured or otherwise indemnified for practicing medicine:

      The conditions of the plaintifP's employment with the defendant did not include terms
that made the defendant the plaintifl"s physician or otherwise, require the plaintiff to act
upon medical advice given by the defendant.

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        Plaintiff's empioyment was wrongfully terminated in retaliation for exercising her
rights; specifically, the plaintiff has certain intangible private property rights which include the
right to care for her own health and choose her own physician and health care practices
while also avoiding habits and practices that she believes might ruin or risk her good health.

       The plaintiff also has the intangible private property right to make decisions that affect
her health with informed consent; that is, the plaintiff has a right to review all risk and benefit
analyses and results from relevant ciinical studies prior to making any decision to adopt new
practices regarding her health. The defendant refused to comply with the law and violated
the plaintiff's property rights, specifically those enumerated under the state's Patient's Bill of
Rights and informed consent.

      Defendant is an employer and prohibited from firing or otherwise retaliating against
employees, specifically the plaintiff, who report workpiace safety violations or participate in
investigations into such violations.

       New conditions of employment violated the long-standing safety standards adopted
by the Occupational Safety and Health Administration and involved the defendant's conduct
which included imposing a medical intervention in violation of the law prohibiting the
unlicensed practice of inedicine.

      Plaintiff's employment was wrongfully terminated in retaliation for reporting unsafe
working conditions to the Occupational Safety and Health Administration.

       PlaintifP's employment was also wrongfully terminated because the plaintiff refused to
accept a medical intervention sought to be imposed by the defendant where such medical
intervention was not permitted to be imposed by law to be imposed by the defendant and
violated the plaintifrs right to informed consent.

       Plaintiff was wrongfully terminated because the defendant and its agents did not
follow the procedures of "Walgreen's Communicable Disease Policy" which has been official
company policy since September 1, 2020.           The policy states that in every case of an
employee being suspected of having a communicable disease there must be an
evidence-based diagnosis by a medical professional before any action is taken by the

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 company. Plaintiff never had a medicai diagnosis of being infectious nor did plaintiff have a
 court order designating her as a"direct threat".   A true copy of the policy paper is attached
 as Exhibit C.

        As a direct and proximate result of the defendant's actions, the plaintiff's employment
 was wrongfully terminated by the defendant.

         The defendant's actions were willful and negligent. After plaintifPs objections and
 attempts to re-mediate the defendant on the law and her rights, the defendant continued
 violating the law and violating the plaintiff's rights as alleged herein.

       The defendant did not act under color of law or claim of lawful authority. The
 defendant had no legal duty to require the plaintifF to undertake any medical intervention or
the one purportedly requiring the plaintiff to wear a surgical mask or mask of any kind as a
new condition of her employment.

      The defendant was not acting under any authority of law or court order. Again, the
defendant was under no legal duty to violate the law as alleged herein, and no authority or
court order permitted the defendant to violate the law or violate the plaintiffs rights as
alleged herein.

       The plaintiff never waived any of her rights at any time.

      No employee or agent of the defendant is licensed, competent or authorized to give
medical advice, such as requiring employees, such as the plaintiff, to wear a mask, or
submit to temperature or tissue testing.

      Additionally, neither the defendant nor any of its employees or agents are insured or
indemnified to collect vital statistics such as taking the temperatures or tissue samples.

      Defendant has no authority to require the plaintiff to act upon its medical advice (by
wearing masks) or disclosing her vital statistics (e.g. temperature), submitting to any
medical examination or give tissue samples (e.g. testing) as a new condition of the plaintiff
retaining her employment with the defendant.



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       The defendant is not authorized to violate the rights of the plaintiff, nor is the
 defendant required to break the law, or operate beyond its charter as a new condition of the
 plaintifP's employment that was never considered at the time he was hired.

        Plaintiff demands a jury trial.

        WHEREFORE plaintiff demands judgment against the defendant for lost wages as
 alleged herein, together with costs and attorney fees and other relief as this court deems
 appropriate.

                             COUNT III — BREACH OF CONTRACT

       The plaintiff, Therese Lawrence, sues the defendant, WALGREENS, for breach of
 contract and alleges the following:

                                  JURISDICTION AND VENUE

       The Superior Court has original jurisdiction over claims for wrongful termination for
 employment and related employment agreements.

      The piaintiff resides in Hillsborough County, New Hampshire, and her mailing
address is 165 Village Circle Way #17, Manchester, NH 03102.

      The defendant is a resident in the state of New Hampshire, with its principal place of
business in Hillsborough County at the address of 227 S. Main St., Manchester, New
Hampshire.

      The material facts for all times material to this complaint took place in Hillsborough
County, New Hampshire.

                                    STATEMENTS OF FACT


       On the date of December 11th, 2020, the plaintiff's employment was wrongfully

terminated by the defendant for discriminatory reasons.

                                          ALLEGATIONS

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        Plaintiff re-alleges the foregoing and incorporates each fact herein and further alleges
 as follows;

       It was an employment contract that was commenced between the piaintiff and

 defendant on the date of March 31st, 2019 and continued without inten-uption until plaintifPs

 employment was terminated as alleged herein.

       The plaintiff's job title was Designated Hitter and she was paid $12 per hour since
April 2019.

       Additionally, as part of the employment agreement, the plaintPff was trained to
perform services such as cashiering, photo department, processing shipments, and
pharmacy training at the address of 227 S. Main St., Manchester, New Hampshire, from the

dates of March 31st, 2019 until her employment was terminated, although the agreement

never changed and is still binding as of this date.

       Furthermore, defendant violated its own internal policy called "Walgreen's
Communicable Disease Policy" by firing the plaintifP who was never declared infectious by a
doctor or a court order and defendant was duly apprised of this fact in writing. A true copy
of the policy paper is attached as Exhibit C.



       WHEREFORE plaintiff demands judgment against the defendant for breach of
contract alleged herein, together with costs and attorney fees and other relief as this court
deems appropriate.

                      COUNT IV — BREACH OF IMPLIED CONTRACT

      The plaintiff, Therese Lawrence, sues the defendant, WALGREENS, for breach of
contract and alleges the following:

                                JURISDICTION AND VENUE




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       The Superior Court has original jurisdiction over claims for wrongful termination for
 employment and related employment agreements.

       The plaintiff resides in Hillsborough County, New Hampshire, and her mailing
 address is 165 Village Circle Way #17, Manchester, NH 03102.

       The defendant is a resident in the state of New Hampshire, with its principal place of
business in Hillsborough County at the address of 227 S. Main St., Manchester, New
Hampshire.

      The material facts for all times material to this complaint took place in Hillsborough
County, New Hampshire:

                                  STATEMENTS OF FACT


       On the date of December 11th, 2020, the plaintiff's employment was wrongfully

terminated by the defendant for discriminatory reasons.

                                       ALLEGATIONS

       Plaintiff re-alleges the foregoing and incorporates each fact herein and further alleges
as follows:

       lt was an employment contract that commenced between the plaintiff and defendant

on March 31st, 2019 and continued without interruption until plaintiff's employment was

terminated as alleged herein, although the employment agreement has not changed and is
still binding on both parties.

       The plaintiff's job title was Designated Hitter and she was paid $12 per hour since
April 2019.

      Additionally, as part of the employment agreement, the plaintiff was trained to
perForm services such as cashiering, photo department, processing shipments, and
pharmacy training at the address of 227 S. Main St., Manchester, New Hampshire, from the


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 dates of March 31st, 2019 until her employment was terminated, although the agreement

 never changed and is still binding as of this date.

    Furthermore, defendant violated its own internal policy called "Walgreen's
Communicable Disease Policy" by firing the plaintifP who was never declared infectious by a
doctor or a court order and defendant was duly apprised of this fact in writing. A true copy
of the policy paper is attached as Exhibit C.

       WHEREFORE plaintiff demands judgment against the defendant for breach of the
implied contract together with costs and attorney fees and other relief as this court deems
appropriate.



DATED this      /a day of June 2021.
                                                                          7L&U                „(
                                                                         Therese Lawrence,
                                                                 Plaintiff in propria persona



              JASMIN M VAZQUE2
         Natary Public • New Hampshire
      My Commission Expires Mar 25, 2025




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